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2

3
                          UNITED STATES DISTRICT COURT
4
                         EASTERN DISTRICT OF CALIFORNIA
5

6
     UNITED STATES OF AMERICA,            No. 2:14-cr-83-GEB
7

8                  Plaintiff,
9
          v.                              ORDER OVERRULING DEFENDANT’S
10

11                                        OBJECTIONS TO THE PRESENTENCE
     RUSLAN KIRILYUK,
12                                        REPORT

13                 Defendant.

14

15

16        Defendant Ruslan Kirilyuk objects to findings in the
17   Presentence Report (“PSR”).      The United States opposes the
18
     objections.
19

20        Kirilyuk objects to paragraph 7 in the PSR arguing “[t]here

21   is no evidence that [he] opened a fake American Express merchant

22   account in the name of [L.D.] using the high school transcript
23   that was introduced at trial.” Def’s Obj. at 5:7-9.          The United
24
     States rejoins:
25

26              To the extent Kirilyuk argues the evidence did not

27        show he personally took all of the steps to steal and
                                     1
28
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1         misuse L.D.’s identity, the government agrees.
2         However, Kirilyuk was convicted beyond a reasonable
3
          doubt by the jury for his participation in this
4
          unlawful use of L.D.’s personally identifying
5
          information.    This finding was well supported by, among
6
          other pieces of evidence, the recovery of Kirilyuk’s
7

8         fingerprint from L.D.’s student transcript that was

9         used to open the merchant account. Moreover, to the

10        extent that others also assisted in the crime, Kirilyuk
11        is responsible for the reasonably foreseeable acts
12
          taken by his coconspirators in furtherance of the
13
          criminal agreement. See, e.g., 18 U.S.C. § 2; Ninth
14
          Cir. Crim. Jury Inst. 5.1; U.S.S.G. § 1B1.3.
15
          Therefore, while Kirilyuk was not the only person who
16

17        was involved in the scheme, the PSR correctly states

18        that he used the name and social security number of
19        L.D. to open the account.       If any change is to be made
20
          to the language in the PSR, the government suggests
21
          that it be revised to state that Kirilyuk and his co-
22
          defendants used the name and social security number of
23
          L.D.”
24

25   Gov’t’s Sen. Memo and Response to Objs. at 3:17-28, ECF 385.
26
          The United States is correct. This objection is overruled.
27
                                          2
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1         Kirilyuk objects to paragraph 17 in the PSR arguing he never
2    made the statement attributed to him in the paragraph.             The
3
     government’s following response to this objection accurately
4
     states the evidentiary record concerning the objection: Kirilyuk
5
     “objects to a statement made in a chat by his coconspirators.
6
     This chat was a contemporaneous statement made in the course of
7

8    the conspiracy by Kirilyuk’s coconspirators.         It was . . .

9    admitted at trial and it belongs in the PSR because it describes

10   Kirilyuk’s interactions with his coconspirators. [The statement]
11   is very probative of Kirilyuk’s position as the leader of the
12
     fraud scheme whose leadership style was not always appreciated by
13
     his coconspirators.” Sentencing Memor. and Resp. to Objs. at
14
     4:28, 5:1-2 and 4-5, ECF 385.       Therefore, the objection to
15
     paragraph 17 is overruled.
16

17        Kirilyuk objects to the $59,956,500 intended loss amount in
18
     paragraph 29 of the PSR.      However, clear and convincing evidence
19
     in the trial and sentencing records supports this paragraph.             The
20
     evidentiary record includes the following findings:
21

22              A Federal Bureau of Investigation (FBI)
23        investigation revealed a criminal network which
24
          operated 71 false online businesses to commit credit
25
          card fraud from 2011 to 2014.       The investigation
26
          identified Mihran Melkonyan, Rouslan Akhmerov,
27
                                          3
28
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1         Aleksandr Maslov, and Ruslan Kirilyuk as conspirators.
2         Melkonyan, Akhmerov, Maslov, and Kirilyuk operated the
3
          fraudulent online businesses by submitting fraudulent
4
          charges to stolen American Express credit card and
5
          debit card accounts.      The FBI found that approximately
6
          119,913 stolen American Express credit cards or debit
7

8         cards were used, which resulted in 190,321 transactions

9         being submitted to American Express.          Each transaction

10        usually was within the price range of $15 to $30.
11        American Express approved approximately 84,032 of these
12
          charges, which resulted in $1,418,959 in fraudulent
13
          charges being approved, but the intended loss was more
14
          than $3.4 million.
15

16   Paragraph 5 in the PSR at 5.
17
          Further, the method used to calculate the intended loss
18
     stated in paragraph 29 of the PSR is supported by the advisory
19

20   guidelines; specifically, “[e]ach device is valued at $500.” PSR

21   at paragraph 29; See     United States v. Dobadzhyan, 677 Fed.Appx.

22   454, 455(9th Cir. 2017) (“In cases, such as this one, involving
23   altered or counterfeit instruments, U.S.S.G. § 2B1.1(b)(1) sets
24
     increases in criminal offense levels based on the amount of loss
25
     [; and a] court may impose a charge of $500 per counterfeit
26
     access device number. U.S.S.G. § 2B1.1, cmt. n.3(F)(i); United
27
                                          4
28
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1    States v. Popovski, 872 F.3d 552, 553, (7th Cir. 2017) cert.
2    denied 138 S.Ct. 1017 (2018)(“Application Note 3(F)(i) to § 2B1.1
3
     provides: ‘In a case involving any counterfeit access device or
4
     unauthorized access device, loss includes any unauthorized
5
     charges made with the counterfeit access device or unauthorized
6
     access device and shall be not less than $500 per access
7

8    device.’”).

9
           The United States is correct in the following assertions in
10
     its brief: “[The intended] loss amount was shown through a
11
     variety of links, including transaction signatures, items
12
     recovered in search warrants, linked bank accounts, common IP
13

14   addresses, witness testimony, and other evidence. Corroborated

15   testimony further established that Kirilyuk was a knowing

16   participant in [the] full scheme.” United States’ Sentencing
17   Memor. and Resp. to Objs. at 5:12-15.
18
          Kirilyuk’s objection to paragraph 29 is overruled.
19

20        Kirilyuk also objects to paragraph 30 in the PSR arguing it
21
     erroneously contains an increase in his sentencing offense level
22
     “for [the] number of victims [, and that the] ‘victim impact’,
23
     paragraph makes it clear that only AMEX suffered any actual loss.
24
     AMEX made all cardholders whole. For the purposes of this
25

26   adjustment, ‘victim’ is a term of art which means a person who

27   has suffered any part of ‘actual loss.’” Def.’s Obj. at 14:12-14,
                                     5
28
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1    ECF 388.    The Ninth Circuit states in United States v. Pham, 545
2    F.3d 712, 719 (9th Cir. 2008) (internal quotations omitted):
3
     “there may be situations in which a person could be considered a
4
     victim under the Guidelines even though he or she is ultimately
5
     reimbursed.” This case presents such a situation.          Paragraph 11
6
     in the PSR contains the following information on some of the
7

8    victims found during an executed search warrant at Akhmerov’s

9    residence in Studio City, California:

10
                FBI agents seized photocopies of approximately 222
11
          [stolen high school] student transcripts from the
12
          Sacramento area which contained handwritten notes.            The
13

14        handwritten notes included credit scores, bank account

15        numbers, e-mail addresses, American Express merchant

16        account information, and logins and passwords required
17        to access various online accounts.        Some of these
18
          students’ identities were utilized to open the
19
          fraudulent online businesses.       Agents also discovered
20
          two separate bank accounts which were established in
21
          two of the Russian students’ names.          FBI agents also
22

23        seized several bank debit cards, checkbooks, $196,000

24        in cash, and more than 50 MoneyPak reloadable cards . .
25        . A forensic analysis of the student transcripts
26
27
                                          6
28
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1         revealed 180 latent fingerprints belonged to Akhmerov,
2         and one matched Kirilyuk.
3
          The United States is correct in its following response
4
     to this objection and this response is adopted as additional
5

6    sentencing findings:

7
                Kirilyuk argues implausibly that there were not
8
          ten or more victims of his . . . credit card and
9
          identity theft fraud scheme.        Based simply on the trial
10
          evidence, this claim is false.        A person suffering a
11

12        temporary loss can be counted as a victim . . . As set

13        forth at trial, the entire scheme was structured to
14        make it less likely that the scheme would be uncovered
15
          and the refund instantaneous. Charges were
16
          intentionally kept small to avoid being noticed.
17
          Company names were selected that made it less likely
18
          that they would stand out on a credit card statement.
19

20        The purpose of structuring the scheme in this manner

21        was to get victims to ignore the charges and pay their

22        credit card bills.     This was essential to the scheme—if
23        enough victims complained about fraudulent charges too
24
          quickly, the credit card company would spot the fraud,
25
          shut down the merchant account, and claw back whatever
26
          stolen money was still in the merchant account.           Given
27
                                          7
28
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1        this scheme structure, [and] the approximately 190,000
2        charges to approximately 119,913 unique American
3
         Express credit card numbers, netting well over $1.4
4
         million . . . at least 10 card holders (approximately
5
         0.0083% of the total number) [paid] their credit card
6
         bills without noticing and contesting the charges. The
7

8        government trial exhibits and testimony . . . show []

9        that the victims paid money before the charges were

10       eventually discovered and reversed.        Trial testimony
11       established that the credit card company would shut
12
         down a company if there were too many indicators of
13
         fraud, including charges that needed to be refunded.
14
         In some cases, this meant that companies were closed
15
         within a very short time of being opened; however, in
16

17       some cases the defendants companies were more

18       successful at avoiding a large number of early charge
19       backs and had a longer life.       Government trial exhibit
20
         2 was a timeline that shows the life cycle of many of
21
         the various shell companies from the first fraudulent
22
         charge to the last.      At least fourteen of those
23
         companies spanned a period of three months or more
24

25       between the first and last charge.        Many other

26       fraudulent companies lasted more than two months.             That

27       means that many of the victims in the first months of
                                    8
28
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1        operation could not have spotted the charges and asked
2        to have them be reversed—if they had, the companies
3
         would not have made it to the subsequent months because
4
         American Express would have closed their merchant
5
         accounts.    Similar information was contained on
6
         government trial exhibit 1.         Trial exhibit 1 listed the
7

8        specific billing date ranges for the fraudulent

9        companies as well as the total amount billed and the

10       number of fraudulent charges.         From this exhibit it is
11       clear that the companies that operated for more than
12
         three months were collectively responsible for
13
         thousands of fraudulent charges to thousands of unique
14
         cards.
15

16             Even where charges were identified by victims and
17       timely reversed, it was not without effort on the part
18
         of many of the victims.      At trial, numerous cell phones
19
         were introduced into evidence that had company
20
         information written on the back of them.         Many of these
21
         phones were used to field calls from people complaining
22

23       about fraudulent charges in order to get them reversed.

24       This process was not automatic and was, therefore, an
25       additional burden on victims of the scheme.
26
               Kirilyuk also overlooks the dozens of student
27
                                         9
28
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1        victims whose identities and credit were used in order
2        to open fraudulent businesses.        Their names are in the
3
         record in Exhibit 1, testimony of some of those victims
4
         at trial, and through the student transcripts admitted
5
         at trial.    When the fraudulent businesses were shut
6
         down, that inevitably had an impact on the credit of
7

8        those students.     As they reach a point where they need

9        to access credit to buy cars or homes, or even to get

10       credit cards, those students will either suffer
11       financially or will have to go through the time
12
         consuming process of getting their credit report
13
         corrected.
14

15             [L]isted below are more than ten specific victims

16       that support the enhancement.        These victims include
17       the credit card company, several banks who took losses
18
         when the shell accounts created and used to carry out
19
         the fraud were shut down or abandoned, and a small
20
         sampling of the credit card holders:
21

22             1.    American Express—Losses related to repaying
23       the victim cardholders . . .
24
               2.    Citibank—On February 19, 2013, the shell bank
25

26       account in the name of Evgenia Romanova, account -9732,

27       caused a $289.35 loss in the form of a misc bank
                                    10
28
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1        credit.    Ex 1.
2
               3.   Wells Fargo Bank—On July 29, 2013, the shell
3
         bank account in the name of Daria Puchkova, account -
4
         5344, caused a $677.00 loss in the form of a fees
5

6        charge off and a $7.99 closeout chargeoff credit.              Ex.

7        2.
8
               4.   Chase Bank—On June 5, 2013, the shell bank
9
         account in the name of Evgenia Romanova, account -5730,
10
         caused an $816.48 loss in the form of an overdraft
11

12       write off credit.      Ex. 3.

13
               5.   Bank of America—On February 27, 2013, the
14
         shell bank account in the name of Evgenia Romanova,
15
         account -1726, caused a $470.34 loss in the form of a
16
         force closed account credit.        Ex. 4.
17

18             6.   U.S. Bank—On November 23, 2012, the shell bank
19
         account in the name of Angelina Kikot, account -0886,
20
         caused a $48.77 loss in the form of a charge off
21
         overdrawn account credit.       Ex. 5.
22

23             7.    J.G.—Victim cardholder who did not notice a
24
               fraudulent charge from Jack BC.        Ex. 6.
25

26             8.   V.B.—Victim cardholder who did not notice a
27       fraudulent charge from RP Art.        Ex. 7.
                                    11
28
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1              9. D.M.—Victim cardholder who did not notice a
2        fraudulent charge from Depper.        Ex. 8.
3
               10. L.A.—Victim cardholder who did not notice a
4
         fraudulent charge from RD Wireless.         Ex. 9.
5

6              11. C.B.—Victim cardholder who did not notice a
7
         fraudulent charge from RD Wireless.         Exs. 10, 11.
8

9    Sentencing Memor. and Resp. to Objs. at 7:7-9, 14-28, 8:1-26,

10   9:1-22.

11
         Individuals and entities can be “be considered ‘victims’ for
12
     purposes of § 2B1.1 despite ultimately recovering most or all of
13
     their initial losses.” Pham, 545 F.3d at 719.         For the stated
14

15   reasons Kirilyuk’s objections to paragraph 30 in the PSR are

16   overruled.

17
         Kirilyuk also objects to paragraph 32 in the PSR arguing his
18
     offense level should not have been increased for the use of
19
     authentication features.     The enhancement is justified for the
20
21   reasons stated in the PSR and under U.S.S.G.

22   §2B1.1(b)(11)(A)(ii). Therefore, the objection is overruled.

23
         Kirilyuk also objects to the leadership offense level
24
     enhancement in paragraph 34 of the PSR.        The evidentiary record
25
     evinces Kirilyuk was a leader of the criminal scheme, and as such
26
27   he is responsible for his own acts and for the reasonably
                                         12
28
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1    foreseeable acts taken by his co-schemers in furtherance of the
2    criminal scheme.    The following adopted findings in the PSR are
3
     part of the findings supporting the leadership enhancement:
4
               “On May 7, 2014, Akhmerov told an FBI agent that
5

6        he began working with Kirilyuk in 2012.          Kirilyuk told

7        Akhmerov that he worked with computer hackers in Russia
8        who had access to stolen credit card data.          Kirilyuk’s
9
         job was to open businesses and online retail businesses
10
         that supposedly sold electronic books and video games.
11
         Kirilyuk used other individuals’ identities to open the
12
         bank accounts, credit card accounts, and merchant
13

14       accounts for these businesses.        Kirilyuk told Akhmerov

15       he had been involved with this type of employment for

16       approximately 10 years and worked with individuals in
17       Sacramento and Los Angeles, California.          Once a
18
         business had been created, Kirilyuk’s Russian partners
19
         used the businesses to process fraudulent charges on
20
         stolen credit card accounts.         Akhmerov advised the FBI
21
         agent that he drove Kirilyuk to meetings, checked
22

23       websites, sent faxes, purchased prepaid cell phones,

24       withdrew money from ATMs, and picked up items from
25       mailboxes.     Akhmerov also lived with Kirilyuk from 2012
26
         to 2013. Kirilyuk provided digital storage media,
27
                                         13
28
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1        driver licenses, personal identifying information,
2        student transcripts, and bank records related to the
3
         businesses they established.         Kirilyuk introduced
4
         Akhmerov to his business associates, Andrey Bgatov and
5
         Melkonyan.
6

7    Paragraph 8 in the PSR.
8
         Further, as the United States asserts in its brief: “The
9
     trial evidence corroborate[s] Akhmerov’s testimony [that Kirilyuk
10
     was the leader of this scheme]. For example, contemporaneous
11

12   chats introduced by the government at trial showed that other

13   members of the scheme referred to (and complained about)
14   Kirilyuk’s position as the leader of the scheme and the way he
15
     bossed around other members of the scheme.        Kirilyuk’s attacks on
16
     Akhmerov’s credibility simply fail under the weight of the trial
17
     evidence.” Sentencing Memor. and Resp. to Objs. at 4:7-12.
18

19       The objections to paragraph 34 in the PSR are overruled.
20
         Kirilyuk also objects to paragraph 39 in the PSR arguing he
21
     “should receive a decrease [in his offense level] for acceptance
22
     of responsibility.”    Def’s Obj. at 17:3. Kirilyuk did not take
23

24   full responsibility for all of his criminal actions and therefore

25   is not entitled to this reduction in his offense level.            The
26   objection is overruled.
27
                                         14
28
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1        A copy of this order shall be appended “to any copy of the
2    presentence report made available to the Bureau of Prisons.” Fed.
3
     Rule of Crim. Proc. 32(i)(3)(c).
4
         Dated:    December 6, 2019
5

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